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                                   UNITED STATES DISTRICT COURT

                                   EASTERN DISTRICT OF LOUISIANA
TODD NOWICKI, ET AL                               *     CIVIL ACTION
                                                        NO. 2:14-CV-01890
VERSUS                                            *
                                                        JUDGE: Sarah S. Vance

                                                                  MAGISTRATE: Karen Wells Roby
LOUISIANA MEDICAL MUTUAL                      *
INSURANCE COMPANY, ET AL                            TRIAL BY JURY
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
                                         ORDER

        CONSIDERING THE FOREGOING MOTION TO DISMISS CLAIMS WITH PREJUDICE;

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that plaintiffs’ Motion to Dismiss Claims

with Prejudice be and is hereby granted, and, accordingly, the claims of plaintiffs, are hereby dismissed with

prejudice. Each party is to bear their own costs.

                                      19th day of April, 2016.
        New Orleans, Louisiana, this ______



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                                                           HONORABLE SARAH S. VANCE
                                                           DISTRICT COURT JUDGE




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